                       THE UNITED STATES BANKRUPTCY COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE


   IN RE:                                               }     Case No 3:19-bk-01961
   KEVIN WAYNE DAVIS                                    }
   WENDY RENEE JONES DAVIS                              }     Chapter 7
   10059 OLD NASHVILLE HIGHWAY                          }
   SMYRNA, TN 37167                                     }
   SSN: xxx-xx-4782                                     }
   SSN: xxx-xx-2899                                     }     Judge Marian F. Harrison
   DEBTORS                                              }
                                                        }
   KEVIN WAYNE DAVIS                                    }
   WENDY RENEE JONES DAVIS                              }
        PLAINTIFFS                                      }
                                                        }
   v.                                                   }
                                                        }
   ST. VINCENT'S MEDICAL CENTER                         }
         DEFENDANT                                      }


                 ORDER GRANTING SANCTIONS AND ATTORNEY FEES

          This matter came before the Court on July 23, 2019, the Honorable Judge Marian

   Harrison presiding upon the Debtors' Motion for Sanctions for violation of the Automatic

   Stay directed toward St. Vincent's Medical Center. At the call of the docket, Debtor-

   Wife and Debtors' counsel was present but Defendant failed to appear or answer in

   defense of the Motion for Sanctions. For good cause shown, it is HEREBY ORDERED

   as follows:


   1. The Defendant is in violation of the automatic stay.

   2. The Defendant is liable to the Debtor for damages in the amount of $50.00.




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   3. The Defendant shall pay Debtors' attorney fees and expenses in the amount of $734.23

   for prosecution of this matter as evidenced by the filed affidavit of attorney fees and

   expenses filed in this case.

   4. The Defendant is hereby sanctioned in an amount of $200.00 which shall be paid to

   the Debtors.

   5. The Defendant shall cease and any all communication regarding collection of their

   debt by any means, including mail and telephone calls.

   6. Should the Defendant continue to attempt to collect upon this debt, this Court shall

   assess further sanctions upon an application to this Court by Debtors' counsel.




   IT IS SO ORDERED.

   This order was electronically signed and entered as indicated at the top of the first page.




   APPROVED FOR ENTRY:

   /s/ Daniel T. Castagna
   Daniel T. Castagna, BPR #022721
   Flexer Law, PLLC Attorney for Debtor
   1900 Church Street, Suite 400
   Nashville, TN 37203
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                                    CERTIFICATE OF SERVICE

          I hereby certify that on July 26, 2019, I furnished a true and correct copy of the
   foregoing to the following parties in interest:

          JEANNE ANN BURTON                                      Electronic
          Jeanne Ann Burton PLLC
          4117 Hillsboro Pike
          Suite 103-116
          NASHVILLE, TN 37215

          U.S. Trustee                                           Electronic
          318 Customs House, 701 Broadway
          Nashville, TN 37203

          Kevin Wayne Davis                                      U.S. Mail First Class
          Wendy Renee Jones Davis
          10059 Old Nashville Highway
          Smyrna, TN 37167

          Vicki Romero Briggs Fache                            U.S. Mail First Class
          CEO Of St. Vincent's Medical Center
          2800 Main Street
          Bridgeport, Connecticut 06606-4201



          I have sent 4 notices. I have sent 2 notices via U.S. mail first class.



                                                         /s/ Daniel T. Castagna
                                                         Daniel T. Castagna




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